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Detective Investigative Notes


    Detective D. Ricks, Major Fraud Unit, 226 Peachtree St Sw., 3rd Floor, Atlanta, Ga. 30303,
                          (404) 546-5227 Office; (404) 546-8159 E-FAX



Case # 132261160

On August 13, 2013 Sgt. P. Cooper and I (Inv. D.M. Ricks) went to the Law Department
located at city hall to meet with Attorney Jeffrey Norman and Atlanta Police Investigator D.
Coleman. Attorney Norman and Investigator Coleman told us the City of Atlanta is a victim
of a fraud/ theft that has lead to a loss of approximately $202,027.35 dollars in cash. The
fraud/ theft occurred between the months of January and August 2013.

They advised us an asset recovery company contacted the financial department of the City
Of Atlanta to advise they represented various businesses and individuals who had not
received payments awarded to them by the City of Atlanta. The asset recovery company
provided names of businesses and individuals who were owed money by the City of Atlanta.

The City of Atlanta's Financial Department conducted an audit to see if the checks had been
cashed, by those businesses and individuals and learned the checks had not been cashed.
The City of Atlanta cancelled the original checks then re-issued checks to the victims through
the recovery company (Asset Financial Recovery, Inc.)
The checks were mailed to Post office box# 1809 in Fayetteville, Georgia 30214.


On July 16, 2013 Ms Linda Guy from the City of Atlanta's financial department received
information from attorney Ashley Miller advising she is a victim of identity fraud. Attorney
Miller advised she represented the law firm of Weissman, Nowack, Curry and Wilco in a case
against the City of Atlanta. Attorney Miller told financial officer Linda Guy her signature had
been forged on the documents sent to the City Of Atlanta requesting a payment of $8,000.00
dollars to be sent to the listed P.O. Box. On June 03, 2013

The City Of Atlanta's financial department then checked the other request that had been by
made by Asset Financial Recovery, Inc.



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At that point the City of Atlanta's financial department noticed a total of $202,027.27 in
checks had been written and mailed to Asset Financial Recovery, Inc ... At P.O. Box 1809
Fayetteville, Ga. 30214.

Currently the City Of Atlanta's financial department is not sure how Asset Financial
Recovery, Inc. obtained the names of the businesses and individuals who had not been paid
by the City of Atlanta.

Ms Guy told us Asset Financial Recovery, Inc. filed an open records request and this is
possibly how they learned who had not received payments from the City of Atlanta.

I started my investigations by checking the business, Asset Financial Recovery Inc ... to see if
it is a legitimate business in the state of Georgia. I learned the company was incorporated on
10-22-2012 as a profit corporation. The registered agents are Deidre Barber, Allen James
Pendergrass and Nathan Pendergrass.

I went to the business's address listed on the payment request that had been sent by the
suspect, 4854 Old National Hwy College Park, Ga. 30337 suite 161. I noticed the business is
in a beige colored building with a blue canopy over the front door. The canopy has the
address numbers on it.

I contacted Unites States Postal Inspector Daryl Greenberg (404-6084516) to see if he could
assist me in learning who the post office box at# 1809 Fayetteville, Georgia 30214 is leased
to.

Inspector Greenberg told me the box is leased to a person who is suspected to be involved in
other frauds. The P.0. Box possibly has been used to receive payments from people who
were scammed in to sending money on a secrete shopper scheme.
The name of the person leasing the mail box is Allen James Pendergrass with a Georgia
driver's license# of 051902322.

Inspector Greenberg also told me there is a second mailbox at that location that may be
involved in fraud. That box is# 1779. This box is leased to Mr. Nathan Pendergrass with
Georgia driver's license# 052519265. I

On August 14, 2013 I completed a police report on the case (132261160) I continued to
attempt to identify Allen and Nathan Pendergrass. I located pictures of the two men and
started to attempt to pull their drivers license information.

On August 15, 2013 I sent copies of two of the cashed checks and pictures of the suspects to
investigator Ron Bowers with Wells Fargo Bank to see if he could assist me in identifying



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who deposited or cashed them. I also did criminal history checks on Allen Pendergrass,
Nathan Pendergrass and Deidra Barber.
Ms Barber is listed as the registered agent for the business on Lexus Nexus.

I called and left a voice message for Attorney Ashley Miller of Weissman, Nowack, Curry and
Wilco to call me back concerning her name being forged on one of the request documents
that were sent to the City of Atlanta Financial Department.

I checked the driver's license numbers against information that was printed on the copies of
the driver's licenses I received from investigator Coleman and Attorney Norman. All of the
numbers belonged to someone other than the person whose picture was on the driver's
license copies I have.

The fraudulent information on the copies is;

Lydia Walker - Georgia Drivers License#

Kayrita Anderson- Georgia Drivers License#

Jennifer Jones- Georgia Drivers License#

Michael Burandt- Georgia Drivers License

The real names associated with this driver licenses# are

             - Shanta Gilmore D

            -Anjanee V. Burns DOB.0

            - Honey Harris DOB.

            - Michael Burandt DOB.0

All of these individuals may be victims of identity theft.

I called the victims and spoke to Ms Shanta Gilmore (                             ) she
told me her car was broken into in Macon, Georgia during the month of April 2013 but, her
license was not taken.

I called and left a voice messages for Anjanee V. Burns (7           ) to call me back.

I called and spoke to the mother of Ms Honey Harris (              ) she told me she will
have her daughter call me back.

I called and left a voice message for Mr. Michael Brandt (            ) to call me back.


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08-19-2013 I attempted to call each of the possible identity fraud victims again and left each
of them a message to call me back.

Ms Ashley Lanier called me back and told me she had no idea how someone had gotten her
business card and changed her information to apply for a second check to be sent to the law
firm she used to work for. Ms Lanier told me she will email me the voice message she
recorded from a female who answered the phone when she called the telephone number to
the recovery business.

I spoke to Ms Honey Harris she told me she had not lost her driver's license and she did not
have any idea how anyone would have been able to get and use her driver's license number
on a fake drivers license.

I spoke to Ms Burns; she told me she lost her driver's license about 7 or 8 years ago, but not
recently. She did not have any idea who would have used her driver's license number.

Investigator Ron Bower with Wells Fargo bank left me a voice message over the weekend
advising he had information on one of the two fraudulent checks I sent him.
I contacted investigator Bowers; he told me he has the information on the check for
$7268.13. This check was cashed at a Bank of America in Illinois. Investigator Bowers told me
the second check for $4,500.00 was not cashed.
He is going to email the check information to me.

On August 28, 2013 Sgt. Cooper and went to the address of the business and noticed a grey
Mercedes with the tag number of AVQS903 Ga. I asked investigator V. Bradey to check it on
ACIC. She advised me the car is registered to an Allen James Pendergrass with the address of
441 Hwy 279 Fayetteville, Ga.30214.

Sgt. Cooper and I walked inside the business and saw a glass case on the wall with the
locations of each business in the building. Assets Financial Recovery Inc. is located in suite
161.

We took pictures of the office door with the business's name plate next to it.

I returned to my office and made contact with Investigator E. Burton-Kelly from Bank of
America. She told me she will attempt to see if she can locate video footage or still pictures
of the person or persons depositing the illegally obtained checks into the business account
of Assets Financial recovery Inc ...




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Investigator Burton-Kelley contacted me back and told me she was not able to locate any
transactions through her systems and I need to contact the cooperate office to get video or
pictures of deposit.

I then contacted Investigator Ron Bower from Wells Fargo Bank. I asked him to check the
deposits and to let me know if there were pictures of deposits being made in their bank.

Investigator Bower told me he can see in the account statements deposits of more than
$26,000.00 dollars on May 15, 2013 and $100,000.00 into the account of Assets Financial
Recovery Inc ... on June 20, 2013.
He also identified the person making the deposits as Allen James Pendergrass.

Investigator Bower also advised me as soon as the money was deposited into the business
account numerous checks were made payable to Deidra Barber and Terrell McQueen these
check were in excess of ten thousand dollars.
He advised he will send me copies of the statements and pictures of the deposits being
made.

I received the pictures of the suspect Mr. Allen James Pendergrass cashing the fraudulently
obtained checks.
The checks were cashed in Fulton County at the Wells Fargo bank located at 5060 Old Bill
Cook Road, College Park, Georgia 30349

On September 19, 2013 I secured a search warrant for the business of Asset Financial
recovery located at 4850 Old National Hwy.

I also secured two arrest warrants for Forgery 3rd degree and two for Theft by Taking against
Mr. Allen James Pendergrass.




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On September 19, 2013 the Major Fraud Unit, supported by the Atlanta Division of the US
Postal Inspection Service, College Park PD, and Georgia State PD, executed a search warrant
at the offices of Asset Financial Recovery in College Park. AFR had stolen approximately
$200,000.00 from the City of Atlanta Department of Finance through an elaborate scheme
using fake and forged documents to "collect" outstanding money owed by the city to various
individuals.

Inv. D.M. Ricks completed an extensive investigation and identified Alan Pendergrass as being
the principal in the business and the person depositing the fraudulently obtained checks into
business accounts that he controlled. Inv. Ricks secured arrest warrants for Pendergrass, and
through surveillance was able to link him directly to the business address in College Park.
Because information discovered during the investigation revealed that the suspect had been
committing similar fraud schemes across multiple state lines and through the mail service,
USPIS agreed to participate. Also it was discovered that fraud was committed against GSU,
prompting their involvement. Inv. Taylor from Cyber Crimes came to the scene to assist in
seizing the computers.

The search warrant yielded several boxes of financial records related to this scheme. At face
value, it appears to include additional victims in multiple states to include Georgia, Colorado,
California, Ohio, Virginia, West Virginia, Texas, Mississippi, and New York, as well as dozens
of federal, state, county and municipal government agencies from coast to coast. The USPIS
is going to be seeking federal prosecution and will assist with the computer forensics on the
seized computers and sorting the thousands of documents recovered. Pendergrass and his
CFO Terrell McQueen were both arrested for multiple felony counts.


During the execution of the search warrant I recovered document that shows the

suspects had been making contact with multiple other agencies, businesses, insurance

companies, and municipalities both local and, state.

While examining the document I learned the suspects had been sending out request

forms under at least 8 different names; Asset Financial Recovery Inc, Guishard Wilburn

& Short, KCM Associates, T& T Trust, Beacon Assets Recovery Agency, Federal

Recovery Agency, Attorney Recovery Systems, and Atel Financial Corp.




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